            Case 1:17-vv-01651-UNJ Document 33 Filed 03/29/19 Page 1 of 4




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 17-1651V
                                          (Not to be Published)

*************************
                                       *                         Special Master Corcoran
PATSY GIPSON,                          *
Trustee of Alfred J. Gipson, deceased, *
                                       *
                       Petitioner,     *                         Filed: February 25, 2019
                                       *
               v.                      *
                                       *                         Decision by Proffer; Damages;
SECRETARY OF HEALTH                    *                         Influenza (“Flu”) Vaccine;
AND HUMAN SERVICES,                    *                         Guillain-Barré syndrome (“GBS”).
                                       *
                       Respondent.     *
                                       *
*************************

Timothy J. Lessman, Knutson & Casey Law Firm, Mankato, MN, for Petitioner.

Lisa A. Watts, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

        On November 1, 2017, Patsy Gipson, Trustee of Alfred A. Gipson, filed a petition seeking
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleged that
Mr. Gipson suffered from Guillain-Barré syndrome (“GBS”) as a result of receiving the influenza
(“flu”) vaccine on November 5, 2015, and that his death on January 1, 2017, was a sequela of that
injury. Petition (ECF No. 1) at 1. Petitioner subsequently amended her petition on September 5,

1
  Although this Decision has not been specified for publication, it will nevertheless be posted on the United States
Court of Federal Claims website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). This
means the Decision will be available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-
12(d)(4)(B), however, the parties may object to the published decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to
the public in its current form. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
             Case 1:17-vv-01651-UNJ Document 33 Filed 03/29/19 Page 2 of 4



2018, to remove the requested compensation for Mr. Gipson’s death (thus, limiting her
compensation request to damages directly attributable to Mr. Gipson’s GBS injury). Amended
Petition (ECF No. 22) at 1.

       Thereafter, on August 24, 2018, Respondent filed his Rule 4(c) Report indicating that
medical personnel of the Division of Injury Compensation Programs (“DICP”), Department of
Health and Human Services concluded that Petitioner has satisfied the criteria for a GBS/flu
vaccine injury as set forth in the Vaccine Injury Table (“Table”). See Rule 4(c) Report, filed Aug.
24, 2018 (ECF No. 21) at 5-6. According to Respondent, the evidence shows that Petitioner
suffered GBS following administration of the flu vaccine, and that onset occurred within the time
period specified in the Table. Id. at 5. Thus, Respondent indicated that based on his review of the
record Petitioner satisfied all legal prerequisites for compensation under the Act. Id. at 5-6. I
subsequently issued a ruling on entitlement on October 1, 2018. See ECF No. 23.

        On February 25, 2019, Respondent filed a proffer proposing an award of compensation.
ECF No. 28. I have reviewed the file, and based upon that review I conclude that the Respondent’s
proffer (as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages
on the terms set forth therein.

         The proffer awards:

         •    A lump sum payment of $176,288.00, representing Mr. Gibson’s pain and suffering
              ($175,000.00), plus past unreimbursable expenses ($1,288.00), in the form of a check
              payable to Petitioner.

Proffer at I-II. These amounts represent compensation for all elements of compensation under 42
U.S.C. § 300aa-15(a) to which Petitioner is entitled.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith.3

         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Special Master
3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
          Case 1:17-vv-01651-UNJ Document 33 Filed 03/29/19 Page 3 of 4



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

*************************
PATSY GIPSON, Trustee of Alfred J. *
Gipson, Deceased,                  *
                                   *
      Petitioner,                  *
                                   *
v.                                 *                 No. 17-1651V (ECF)
                                   *                 Special Master
                                   *                 BRIAN H. CORCORAN
SECRETARY OF HEALTH                *
AND HUMAN SERVICES,                *
                                   *
      Respondent                   *
*************************

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On November 1, 2017, Patsy Gipson, Trustee of Alfred A. Gipson (“Alfred”),

(“petitioner”) filed a petition for compensation alleging that Alfred suffered Guillain-Barré

syndrome (“GBS”), a Table injury, as a result of an influenza (“flu”) vaccine administered to him

on November 5, 2015, and that his death on January 1, 2017, was a sequela of that alleged

vaccine injury.

       On August 24, 2018, Respondent filed his Rule 4(c) Report conceding entitlement to

compensation for Alfred’s Table injury of GBS, but denying that Alfred’s GBS was a substantial

factor in the cause of his death.

       Petitioner filed an Amended Petition on September 5, 2018, withdrawing her claim for

damages for Alfred’s death.

       On October 1, 2018, the Special Master issued an Entitlement Ruling finding that

petitioner was entitled to compensation under the Vaccine Act for Alfred’s GBS.


                                                 1
            Case 1:17-vv-01651-UNJ Document 33 Filed 03/29/19 Page 4 of 4



       I.       Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$176,288.00 consisting of $175,000.00 for Alfred’s pain and suffering, and $1,288.00 for past

unreimbursable expenses related to Alfred’s GBS. This represents all elements of compensation

to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       II.      Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $176,288.00 in the form of a check payable to petitioner.

Petitioner agrees.

                                            Respectfully submitted,

                                            JOSEPH H. HUNT
                                            Assistant Attorney General

                                            C. SALVATORE D’ALESSIO
                                            Acting Director
                                            Torts Branch, Civil Division

                                            CATHARINE E. REEVES
                                            Deputy Director
                                            Torts Branch, Civil Division

                                            GABRIELLE M. FIELDING
                                            Assistant Director
                                            Torts Branch, Civil Division

                                            s/Lisa A. Watts
                                            LISA A. WATTS
                                            Senior Trial Attorney
                                            Torts Branch, Civil Division
                                            U.S. Department of Justice
                                            P.O. Box 146
                                            Benjamin Franklin Station
                                            Washington, D.C. 20044-0146
Dated: February 25, 2019                    Tel.: (202) 616-4099

                                               2
